     Case 2:07-cr-00132-PMP-RJJ     Document 113       Filed 02/10/11   Page 1 of 1




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 4                         UNITED STATES DISTRICT COURT
 5                                DISTRICT OF NEVADA
 6                                          ***
 7   KATHY NELSON,                          )
                                            )         2:07-CR-00132-PMP-RJJ
 8                  Petitioner,             )
                                            )
 9   vs.                                    )                  ORDER
                                            )
10   UNITED STATES OF AMERICA,              )
                                            )
11                  Respondent.             )
                                            )
12

13            Before the Court for consideration is Petitioner Kathy Nelson’s Motion to
14   Reconsider Motion to Vacate 2255 (Doc. #112), filed on January 14, 2011, and good
15   cause appearing,
16            IT IS ORDERED that Petitioner Kathy Nelson’s Motion to Reconsider
17   Motion to Vacate 2255 (Doc. #112) is DENIED.
18

19   DATED: February 10, 2011.
20

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                                                PHILIP M. PRO
22                                              United States District Judge
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